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                IN THE UNITED STATES COURT OF FEDERAL CLAIMS

 AMENTUM ENVIRONMENT & ENERGY,
 INC.,

                        Plaintiff,
                                                     No. 20-2016C
                v.                                   (Judge Silfen)

 THE UNITED STATES OF AMERICA,

                        Defendant.


          DEFENDANT’S MOTION TO MODIFY THE SCHEDULING ORDER

       Defendant, the United States of America, submits this motion to extend the scheduling

order deadlines pursuant to Court of Federal Claims Rules 6(b) and 6.1. Despite substantial

progress on fact discovery, as reflected in the parties’ most recent Joint Status Report filed on

February 18, 2025, ECF No. 63, the parties require additional time beyond the current deadline

of March 14, 2025, in which to complete nine necessary depositions, five of which were

identified in the Joint Status Report. Accordingly, defendant respectfully requests a modest

extension of 70 days (10 weeks), to May 23, 2025, for the deadline for the close of fact discovery

and modification of subsequent deadlines to otherwise maintain the prior case timeline. This is

the seventh request for an enlargement of time for this purpose. Plaintiff, Amentum

Environment & Energy, Inc., formerly known as URS Energy & Construction, Inc. (URS),

opposes this request, unless we agree not to seek any further extension for any reason, except on

the basis of unforeseen, extraordinary circumstances. As explained below, delays in scheduling

and completing depositions—often imposed by URS—make such a commitment unfeasible at

this stage. That said, we intend to avoid seeking any further extension to the below schedule,

and in such circumstances the parties should endeavor to seek only an extension that will be no

greater than strictly necessary.


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       We respectfully submit that good cause exists to grant the requested enlargement in its

entirety. Plaintiff has demanded approximately $314 million in alleged damages for delay,

differing site conditions, and breach of contract on a complex nuclear clean-up project that

spanned a period of over ten years. Although we recognize our own previous delays in

collecting and producing documents, see ECF No. 33, since that time the parties have made

significant progress on finishing the depositions of fact witnesses. However, due to delays by

plaintiff, nine depositions remain to be scheduled (three of plaintiff’s depositions, and six of

defendant’s depositions).

       The current schedule provides for a phased discovery period involving (1) completion of

fact depositions; and (2) expert discovery. Under that schedule, fact discovery is to close on

March 14, 2025. ECF No. 57. As stated in the February 18, 2025 Joint Status Report, the parties

had yet to schedule five additional individual fact witness depositions and two additional Rule

30(b)(6) depositions. Currently, the parties have noticed—but have yet to schedule and take—

seven individual fact witness depositions and two additional Rule 30(b)(6) depositions. The

current schedule contemplated completion of all fact depositions by March 14, 2024, but given

the number of outstanding depositions, this is not currently possible.

       The parties have made significant progress on taking and scheduling depositions,

beginning in July 2024. In total, plaintiff has noticed three 30(b)(6) depositions and ten fact

witness depositions, while defendant has noticed one 30(b)(6) deposition and 13 fact witness

depositions. So far, the parties have taken the following 16 depositions, two of which are

30(b)(6) depositions noticed by plaintiff, seven fact witness depositions noticed by plaintiff, and

seven fact witness depositions noticed by defendant:




                                                  2
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Deponent              Noticing Party         Notice Date           Date of Deposition
30(b)(6) of the DOE   Plaintiff              July 19, 2024         October 8-10, 2024
William Duggan        Defendant (with        September 19, 2024    October 24, 2024
                      additional direct by
                      Plaintiff)
Frank Marcinowski     Plaintiff              September 13, 2024    November 12, 2024
Brent Blunt           Defendant              September 19, 2024    November 14, 2024
Peggy Hamilton        Defendant              September 19, 2024    November 20, 2024
Jeanette Eng          Plaintiff              September 13, 2024    December 10, 2024
David Lowe            Defendant (with        September 19, 2024    December 12-13, 2024
                      additional direct by
                      Plaintiff)
Derrick Franklin      Plaintiff              September 13, 2024    January 14, 2025
Wendy Bauer           Plaintiff              September 13, 2024    January 16, 2025
Kevin Collins         Defendant (with        September 30, 2024    February 5-6, 2025
                      additional direct by
                      Plaintiff)
30(b)(6) of the EPA   Plaintiff              August 30, 2024       February 12, 2025
Daniel Macias         Defendant              September 30, 2024    February 20-21, 2025
Tim Vitkus            Plaintiff              December 12, 2024     February 25, 2025
Hugh Davis            Plaintiff              September 13, 2024    March 4, 2025
Steven Feinberg       Plaintiff (with        September 13, 2024    March 6-7, 2025
                      additional direct by
                      Defendant)
Craig Anderson        Defendant              February 21, 2025     March 13, 2025
Craig Anderson        Plaintiff              February 25, 2025     Scheduled for March
                                                                   20, 2025




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       Plaintiff has three outstanding depositions—a 30(b)(6) of Naval Reactors,1 Thomas

Cochran,2 and Kimberly Tate,3 while defendant has six outstanding depositions—the URS

30(b)(6),4 Keith Stone, Michael Gavin,5 Karl Axelson,6 James Smith, and Cheryl Cabbil.7 This

disparity, however, is not the fault of defendant, but rather, plaintiff’s refusal to provide

defendant with available deposition dates for these witnesses.

       Although defendant noticed the URS 30(b)(6) deposition on September 20, 2024, the first

time plaintiff proposed a date was on January 30, 2025—over four months after the initial notice.

Notably, we requested a date for this deposition on October 28, 2024, November 4, 2024,

November 21, 2024, and December 19, 2024. Ex. A at 1-2; Ex. B at 5; Ex. C at 10, 1-2. We did

not receive any proposed dates in response to any of these requests. Id. Further, on January 30,

plaintiff proposed the week of March 10, 2025—incidentally the final week of discovery, and a

week during which the attorneys for defendant were not available for that deposition. Ex. D at

11. Since January 30, plaintiff has refused to provide another date for the URS 30(b)(6)

deposition, claiming this refusal is because we have not explained our lack of availability during

the week of March 10. Id. at 4. This claim is made despite the fact that we informed plaintiff

that we would not be available for the three days of a 30(b)(6) deposition during that week due to

obligations in other cases—particularly considering each undersigned attorney handles a full

case load of at least 10-15 other cases. Id. at 7.



   1
     Noticed on January 14, 2025.
   2
     Noticed on December 19, 2024.
   3
     Noticed on January 30, 2025.
   4
     Noticed on September 20, 2024.
   5
     Keith Stone and Michael Gavin were both noticed on September 30, 2024.
   6
     Noticed on December 20, 2024.
   7
     James Smith and Cheryl Cabbil were both noticed on March 10, 2025, after plaintiff had
disclosed both as possible trial witnesses on February 28, 2025 (on which date we informally
requested deposition dates for both witnesses via email).


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         Also on January 30, plaintiff offered the date of February 19 or 20, 2025, for the

deposition of Michael Gavin. Id. at 11. Again, we had noticed Mr. Gavin’s deposition on

September 30, 2024, and despite requesting dates for this deposition on October 28, 2024,

November 4, 2024, November 21, 2024, and December 19, 2024, we did not receive a proposed

date until the end of January 2025. Ex. A at 1-2; Ex. B at 5; Ex. C at 10, 1-2. We responded,

stating that due to other case considerations, we would be unable to cover two depositions on the

same day,8 and that 20-days’ notice would not be sufficient time to prepare. Ex. D at 10. In

addition, we have been requesting deposition dates for Keith Stone since September as well,

repeating our request on each of the dates outlined above. Despite these requests, we have still

not received a proposed deposition date for Mr. Stone. And finally, despite noticing the

deposition of Karl Axelson on December 20, 2024, we have yet to receive a proposed deposition

date, despite repeatedly requesting one.

         Nevertheless, we have proposed deposition dates for all three of plaintiff’s outstanding

depositions. For the Naval Reactors 30(b)(6) deposition, we repeatedly proposed dates, which

then needed to be postponed due to plaintiff’s request based on unresolved issues over clawed-

back documents. Ex. D at 3. For Ms. Tate, on February 25, we proposed a number of dates in

March, id. at 2-3, and for Mr. Cochran, we again proposed a number of dates in March. Ex. D at

1. In addition, on February 11, 2025, we raised with plaintiff the fact that given the remaining

depositions to be scheduled, the already full schedule, and the seeming unavailability of

witnesses, a schedule extension would likely be necessary. Ex. D at 8. Following that date, due

to the already full deposition schedule through the current end of discovery, we proposed dates

outside of the discovery window, particularly because plaintiff stated it would consider the



   8
       Daniel Macias’ deposition had already been scheduled for February 20-21, 2025.


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proposed schedule extension. Id. at 1-7. However, at that point, plaintiff refused to provide any

additional deposition dates. Ex. E at 4, 1. Accordingly, our cooperation with plaintiff over

scheduling depositions has resulted in us not being able to complete discovery on the current

schedule.

       We thus respectfully request that the Court find good cause to modify the current

deadlines identified in the Court’s October 17, 2024 Scheduling Order (ECF No. 57) as follows:

                 Event                       Current Deadline         Requested New Deadline

 Close of Fact Discovery                 March 14, 2025               May 23, 2025

 Joint status report due that updates    April 4, 2025                June 13, 2025
 the court on a first settlement
 discussion

 Exchange of Expert Reports              May 9, 2025                  July 18, 2025

 Exchange of Rebuttal Expert             July 3, 2025                 September 12, 2025
 Reports

 Close of Expert Discovery               August 29, 2025              November 7, 2025

 Joint status report due that (1)        September 12, 2025           November 21, 2025
 updates the court on a second
 settlement discussion, and (2)
 proposes a schedule for further
 proceedings. The dispositive-
 motion briefing schedule shall
 include four deadlines: (1) URS’s
 affirmative motion; (2) the
 government’s cross-motion and
 response; (3) URS’s response and
 reply; and (4) the government’s
 reply.


       In addition, consistent with this Court’s October 17, 2024 Order, the parties will continue

to jointly submit a status report on the every-30-day schedule through the close of expert

discovery, the last one due on November 21, 2025.


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March 14, 2025                          Respectfully submitted,

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